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            EXHIBIT 2
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 Hunters Capital, LLC v. City of Seattle                 Bates McKee


                                                               Page 1
                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON
                          AT SEATTLE
    ______________________________________________________

    HUNTERS CAPITAL, LLC, et al.,    )
                                     )
                   Plaintiffs,       )
                                     )
          vs.                        ) No. 20-cv-00983-TSZ
                                     )
    CITY OF SEATTLE,                 )
                                     )
                   Defendant.        )
    ______________________________________________________
               VIDEOTAPED VIDEOCONFERENCE DEPOSITION
                        UPON ORAL EXAMINATION OF
                                  BATES McKEE
    ______________________________________________________


               Witness located in Seattle, Washington
      (All participants appearing via videoconference.)




    DATE TAKEN:       AUGUST 24, 2022
    REPORTED BY: CARLA R. WALLAT, CRR, RPR
    WA CCR #2578; OR CSR #16-0443; CA CSR #14423


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                                                                        Page 35
 1            Q.    (BY MR. REILLY-BATES)           Let's take a look at

 2     the page 1, the end of the first paragraph.               It says "I

 3     have been -- also been observing these neighborhoods

 4     for our professional purposes in valuation through the

 5     work-from-home era spawned by the coronavirus pandemic

 6     with particular focus subject properties and claims

 7     starting with my engagement for this assignment in

 8     May 2021, including several comprehensive comparative

 9     visits.      And the scope of my work included," et cetera,

10     et cetera.

11                  So the question is:           Your engagement was -- by

12     the City was in May of 2021, correct?

13            A.    Correct.

14            Q.    And you weren't working on this -- this

15     project before May of 2021, correct?

16            A.    Correct.

17            Q.    And this may seem obvious, but you didn't

18     start observing any of the neighborhoods that you

19     mentioned at the end of this paragraph before May of

20     2021, correct?

21            A.    Oh, no.     Certainly, I observe all the

22     neighborhoods that I can.               So that's not correct.

23     That's my -- that's my job to observe real estate in

24     the Seattle area.          So -- so I'd say that's not correct.

25            Q.    Okay.     When you say "I've observed


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                                                                     Page 44

1       plaintiffs' claims have damages that could extend into

2       the future past July 10th of --

3             A.    Well, it would be presumptuous for me to say

4       when damages claims would extend.            That's -- that

5       probably would be a legal concept.            So I simply was --

6       part of my investigation was not limited to -- you

7       know, to a period of time.

8             Q.    Okay.     And you don't want to offer any legal

9       opinions in this case, do you, correct?

10            A.    No.

11            Q.    You're -- because you're not qualified as --

12      as an attorney, correct?

13            A.    Is that an expert?         I don't know.   But

14      certainly not in my area of expertise other than, you

15      know -- other than I am qualified as an expert in

16      real estate appraiser -- as a real estate appraiser in

17      real estate related legal cases.

18                  So I'm expected to understand, of course,

19      the -- and to -- and to appraise to a legal fabric

20      that's acceptable in -- by the courts.            So I'm -- my

21      expertise does extend into the -- for instance, the

22      compensability, you know, issues.

23                  I have to -- I have to read and understand at

24      a -- I guess you would say a layperson's legal level

25      but a high layperson's legal level the restraints on,


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                                                                   Page 45
 1     you know -- on compensation, for instance.

 2            Q.    Okay.    But you understand that you're not able

 3     to offer a legal opinion that the Court can consider in

 4     this case, correct?

 5            A.    That's right.       That's correct.   Well, I think

 6     the Court can consider it, you know.           When I cite, for

 7     instance, the legal standards that I appraise to, I

 8     wouldn't suggest that the Court doesn't consider it.

 9     If the Court finds something flawed, the Court would,

10     you know -- it's -- it's frequent that I need to

11     testify to such things, for instance, what's -- you

12     know, when I -- what's the legal fabric for appraisal

13     and valuation.

14                  So -- so while I'm not, you know -- while I'm

15     not -- while I wouldn't tender a legal opinion myself,

16     I would cite things such as, you know, jury

17     instructions and even case law.

18            Q.    So is it possible that events that occurred

19     during CHOP could have caused damages that happened

20     after July 10th, 2020?

21            A.    Well, I don't know what "damages" mean.         That

22     means different things to different people.            So I -- I

23     usually deal in the world of compensation as opposed to

24     damages.      So I -- I guess I don't have an opinion about

25     that.


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                                                                   Page 60
 1     the attorneys.

 2            Q.    Okay.    Mr. McKee, can you answer this question

 3     "yes" or "no," please:           You are not qualified to offer

 4     a legal opinion in this case, are you?

 5            A.    To -- I'm not sure I can answer that "yes" or

 6     "no."

 7            Q.    A "yes" or a "no."

 8            A.    I'm not sure I can.        I think I've tried to

 9     answer that.        I have to -- you know, I have to -- I

10     have to deal with -- with legal conclusions and with

11     the legal fabric when I -- when I address the appraisal

12     of, you know, temporary or permanent taking.

13                  So I don't -- that's not an oppositional, you

14     know, level of understanding.           And so my opinions show

15     up in the context of my real estate appraisals, not as

16     a pleading to the Court.

17                  So I would say that I'm not qualified to

18     provide a legal pleading or, you know, to provide an

19     interpretation for the purpose of a Court

20     interpretation.         That's in the domain of attorneys.

21     But I am required to -- to appraise legally under

22     the -- the fabric that's well established in eminent

23     domain.

24                  So I have to -- those opinions or -- it's not

25     really my opinions.          My conclusion -- my reading of


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                                                                 Page 61
 1     the, you know, laws and, you know, informed by the

 2     interpretation of case law is central to the work that

 3     I do.

 4                  And so always subject to -- to legal

 5     instruction myself, and I wouldn't tender an opinion to

 6     the courts.       But I -- but I would be expected to -- to,

 7     you know, to appraise in a legal manner subject to my

 8     interpretation.

 9                  It's like driving on the street.      It's like --

10     I can't tell you, you know, about the nuances of the

11     enforcement of the speed limit or something, but I'm

12     expected to follow the speed limit and to understand

13     it.

14                  So it's a -- of course, I would do things

15     legally to the best of my understanding, and in the

16     specific case of appraisals, then I'm, you know, -- I'm

17     required to -- to carefully follow the law.

18            Q.    Mr. McKee, that was a "yes" or "no" question.

19            A.    I'm sorry, I couldn't answer it.      I -- again,

20     yes, I am not -- I am not qualified to tender an

21     opinion to the -- for the Court to find or for a trier

22     of fact to find.         That is the domain of the attorneys.

23            Q.    So you're unable to answer my question "yes"

24     or "no" whether you are qualified to offer a legal

25     opinion in this case; is that a correct statement?


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                                                                      Page 62
 1            A.    Well, I'm asking who are we offering it to;

 2     the reader of the appraisal report or to -- or to the

 3     courts?

 4                  And so I'm saying I -- I am required to

 5     interpret it for the purpose of documenting my

 6     appraisals, and I am not qualified to submit pleadings

 7     to, you know, a court or a trier of fact.              So I --

 8     that's a "yes" and a "no," I think.               Sorry.

 9            Q.    Let's go to the last paragraph of page 6.             It

10     starts with "an owner has" a reasonable -- "a right to

11     'reasonable' access."

12                  Do you see that?           Could you take a moment to

13     review that paragraph, and let me know when you're

14     done?

15            A.    Okay.

16            Q.    Okay.    And the last sentence of that paragraph

17     states, "While there may have been intermittent

18     impairment of certain types of" some access -- or, I'm

19     sorry, "of access to some areas due to periodic

20     vehicular restrictions, there was nothing approaching a

21     taking of all, or even a significant part, of access to

22     and utility of the properties."

23                  Do you see that?

24            A.    Yes.

25            Q.    And did you personally draft this?


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                                                                      Page 75
 1     population of the subject area were students, can you?

 2            A.    Correct.

 3            Q.    Let's take a look at page 9, the last

 4     paragraph, you state, over -- "In my observation,

 5     street-level activity with pedestrians and workers was

 6     diminished everywhere, but particularly in the

 7     previously-vibrant close-in neighborhoods such as the

 8     CBD, Capitol Hill, Pioneer Square and South Lake Union.

 9     The absence of pedestrian activity was particularly

10     noticeable for these neighborhoods and tenants in these

11     neighborhoods, as the empty streets signaled a troubled

12     and unpredictable real estate environment."

13                  Do you see that?

14            A.    Yes.

15            Q.    Now, what is the basis of your observations

16     here?

17            A.    Constantly observing.        So a -- it's, you know,

18     virtually daily or weekly observation of street-level

19     activity in various neighborhoods as I appraise

20     properties.

21            Q.    So -- so is that only your -- you're

22     physically going out to neighborhoods and -- and

23     looking at particular streets?

24            A.    Yes, that's my job.        It's only that.   So

25     anyway, that's what I -- that's -- that's central to --


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                                                                     Page 76
 1     you know, to -- my observations are, you know -- are

 2     the basis for my work typically, so I don't mean to

 3     make light of it.

 4                  Yes, it's my observations.

 5            Q.    Okay.    So there's -- there's no -- no data in

 6     support of -- to support those statements that there

 7     was an absence of pedestrian activity in any of those

 8     neighborhoods, correct?

 9            A.    Oh, no, I think there is data.        There's quite

10     a wide variety of data that's available.           There's, you

11     know -- there's cell phone data.           There's sidewalk and

12     downtown, you know, DSA data.           There's quite a variety

13     of data, so it -- you know, including published data

14     and what have you.

15                  So while my observations provide the key for

16     the statement that you see there, you know, the data

17     certainly exists.          I -- I -- I didn't attempt to

18     present all of the data.            It wasn't necessary.

19            Q.    And, in fact, you didn't actually review any

20     data, cell phone data, did you?

21            A.    Oh, that's not true, so, I don't know -- I

22     don't know why you would say that.            I constantly review

23     data.

24            Q.    Well, you did not review any data relating to

25     the level of pedestrian activity in any Seattle


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                                                                     Page 77
 1     neighborhoods?

 2            A.    No, that's not true.         I don't know why you're

 3     saying that.        I -- I -- again, it's a daily or weekly,

 4     you know -- it's constant.              I'm constantly observing

 5     the data.       That's not correct.

 6            Q.    Okay.    So what -- what data do you review

 7     that -- that provides you a basis to say that there was

 8     an absence of pedestrian activity in these

 9     neighborhoods?

10            A.    Yeah, I mean, I'm -- again, I read all the

11     published reports.          There's data that's written, you

12     know -- there's -- there are published reports every

13     day about level of activity and level of occupancy.                 I

14     shouldn't say every day, but it's quite frequent in the

15     Puget Sound Business Journal and the Daily Journal of

16     Commerce and CoStar's reporting and, you know, data

17     that's cited by the Downtown Seattle Association and

18     the, you know -- there's -- there's a lot of data.

19                  So, you know, it's not -- you know, it's not

20     accumulated in this report, but that doesn't mean I --

21     I don't have any data.           It just means -- it just means

22     it wasn't necessary to include it.

23            Q.    Okay.    And -- and you, in fact, did not cite

24     any data or data sources that you relied upon in -- in

25     your report, did you?


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                                                                    Page 78
 1            A.    I cited specifically my observation which is a

 2     data point.       But, you know, I don't know if you would

 3     invalidate my observations, but it's -- that's --

 4     that's what I'm hired to do usually is to observe

 5     things.

 6                  So those -- my citation was my observations,

 7     but it's -- my observations include an observation of

 8     the data on an ongoing basis.           So it's not just the

 9     streets.      It's all the data.

10            Q.    Can -- can you sit here -- as you sit here

11     today, can you tell us any of the publications that you

12     reviewed that support your statement that there was a

13     particular noticeable lack of pedestrian activity in

14     these neighborhoods?

15            A.    I think I've said it.       Downtown Seattle

16     Association provides data on -- you know, on pedestrian

17     count, for instance.           The -- you know, the retail

18     facilities and the parking facilities that we appraise

19     provide very tangible data.

20                  So I didn't cite the data here, but I observed

21     a lot of data, and it's broad.           It's not a -- you know,

22     again, I think we get, you know, weekly at this point,

23     you know, here's -- here's what the percentage of

24     office data is.

25                  There was a -- recently published in the Puget


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                                                                   Page 85
 1                  But the -- the issue at hand for -- at least

 2     for, you know, compensation is fair market rent, which

 3     does not premise the tenant.            So it's very specific to

 4     the issue at hand.

 5            Q.    And did you study any of the -- the leases of

 6     the -- the plaintiffs' properties between the

 7     plaintiffs and their tenants after June 2020 in this

 8     case?

 9            A.    I was not provided with any leases.

10            Q.    Okay.    Do you know whether or not Hunters

11     Capital entered into it -- leases with its tenants

12     at -- in arm's length negotiations?

13            A.    I'm not sure I understand.        Is -- what is the

14     question?       Is Hunters Capital a market participant that

15     would engage in arm's length negotiations; is that the

16     question?

17            Q.    The question is -- strike that question.

18                  Do you know whether or not the plaintiffs --

19     plaintiffs entered into leases with their tenants in

20     arm's length transactions?

21            A.    No.

22            Q.    Okay.    And -- but you're not aware of any

23     facts that would suggest that they -- they did not

24     enter into any leases with their tenants for less than

25     fair market value; is that correct?


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                                                                     Page 87
 1     are significantly impacted by any downturn."

 2                  What specific analysis did you conduct with

 3     respect to parking revenues for your work?

 4            A.    Many, many properties that we appraised.          That

 5     properties have, you know, parking as a revenue

 6     component.         Many -- many urban properties do.

 7            Q.    Okay.     And -- go ahead.

 8            A.    In -- go ahead.

 9            Q.    I -- I interrupted.        I'm sorry.

10            A.    No.    In appraising the urban properties that

11     we appraise, we observe parking frequently.

12            Q.    Okay.     And how did you analyze the -- the

13     parking revenues that were from the subject area?

14            A.    I don't believe I did.

15            Q.    Okay.     Did you conduct any specific analysis

16     with respect to the -- the parking rates within the

17     subject area?

18            A.    Sure.

19                  My observation, that includes an --

20     observations of, you know, of pedestrian activity, of

21     vehicle parking, of rates, so, you know, in -- in my

22     observation, absolutely.            That's just part of it.

23            Q.    What did you look at to study the parking

24     activity parking rates within the subject area?

25            A.    Surface parking, occupancy and use of surface


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                                                                 Page 88
 1     parking areas for, for instance, restaurants as opposed

 2     to cars, the actual rates as published, which, you

 3     know, I didn't find -- I didn't find it changed, but

 4     that's not unusual.          You don't stimulate demand when

 5     there isn't a market by dropping rates.

 6                  So I found that the rates were, you know, were

 7     similar as far as the asking rates go, but that the

 8     occupancy in terms of occupancy, particularly a --

 9     transient surface, you know, lots was diminished

10     commensurate with, you know -- commensurate with the

11     quieter overall environment and the lessened activity,

12     so...

13            Q.    So my question was specifically about the

14     subject area --

15            A.    Yes.

16            Q.    -- around --

17            A.    Yes.

18            Q.    -- CHOP.      What did you look at to -- to study

19     the occupancy rates in the subject area?

20            A.    The -- the -- the surface parking lots as I

21     said.

22            Q.    And where did you get that information?

23            A.    That -- my personal observation.

24            Q.    Okay.    So you're talking about driving by a

25     parking lot and seeing that it's full or half -- half


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                                                                    Page 89
 1     empty or empty, correct?

 2            A.    That's what we do, or walking by, both.

 3            Q.    And so -- but you'll admit that you -- you

 4     couldn't have made any of those observations prior to

 5     your engagement in May of 2021, correct?

 6            A.    Not for the subject properties, no, because I

 7     didn't have a -- specific eyes on that.             But -- but the

 8     issue relates to the broader urban fabric that is not

 9     just the subject neighborhood but the surrounding, so

10     lots of observation.

11                  But relative to the subject neighborhood, no.

12     That was started in May of 2021.

13            Q.    Okay.    Let's scroll down to the bottom of

14     page 10 where it refers to a "Survey of Real Estate

15     Market Participants on Impacts of COVID and Protests on

16     Properties and Businesses."

17                  Do you see that?

18            A.    Yes.

19            Q.    Now, why did you decide to conduct the survey

20     as part of this analysis?

21            A.    It was -- it -- it seemed relevant.        The issue

22     at hand was, you know, complex, and it was -- it was to

23     try to discriminate, you know, additional impact, if

24     any, of -- of a specific set of events relative to the

25     broader, you know, real estate context of what was


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                                                                    Page 97
 1     are well known -- you know, these are well-known

 2     commercial real estate people.            So I -- I don't have --

 3     you know, I'm not friends with any of them.            I wouldn't

 4     call them acquaintances.            Professional acquaintances, I

 5     guess.

 6            Q.    So you've worked with -- with some of these

 7     individuals, correct?

 8            A.    Yes.

 9            Q.    Have -- have any of these individuals hired

10     your business or you to perform any work for them?

11            A.    Oh, gosh.      Often -- usually, if we're hired to

12     do work on property valuation, it's usually by the

13     financial institutions.            It would be less normal to be

14     hired by the individuals.

15                  Let me take a quick look on this.        We did some

16     work indirectly for Art Langley who owns the -- you

17     know, Salvation Army.           But again, that wasn't -- that

18     wasn't Art who hired us to do that.

19                  We've appraised properties in the past owned

20     by Hal Griffith and owned by Ed Kim.            And, again, I

21     don't believe we've worked directly for them.           Or as a

22     company, we may have, but I -- I haven't.           And, again,

23     in 31 years of business, a lot of these guys have been

24     around a long time.          So they're familiar to us.

25                  I probably appraised some of Wright's, you


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                                                                      Page 98
 1     know, restaurants in the past, but, again, I don't

 2     think directly for him.            So -- so I would say -- I'm --

 3     well, I'm not certain.           I would say that we -- we

 4     probably appraised properties that they own or manage

 5     and -- and probably not for them.            There may be

 6     exceptions.

 7            Q.    Okay.    Now, did you rely upon this survey at

 8     all to reach your conclusion at the end of this section

 9     that COVID had a greater impact than CHOP did on -- on

10     rents?

11            A.    Yes, to some extent, uh-huh.

12            Q.    And what did you do to ensure that the people

13     you were surveying owned property that was located

14     within the subject area?

15            A.    We weren't necessarily trying to find owners

16     within the subject area.            That would have, I think,

17     been potentially, you know, improper for us.            So we

18     were -- we were not targeting the subject area

19     specifically.

20            Q.    And were any of these people you surveyed

21     people or -- people that owned businesses or operated

22     businesses that were located in the subject area?

23            A.    Possibly.      I don't know where all the

24     restaurants, you know, are.             There's -- you know, some

25     of these people own or manage, you know, many


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                                                                    Page 99
 1     properties.       So I -- it was -- you know, we weren't

 2     trying to prompt a response.            So we were throwing in

 3     the various issues including, you know, sort of civil

 4     unrest and to the -- you know, into the equation of

 5     things we were interested in, what was influencing

 6     properties in, you know, in mid 2020.

 7                  So, again, we -- due to confidentiality, we

 8     were not identifying, you know, who we were working

 9     for, what we were doing.            So we weren't directly

10     soliciting that.

11            Q.    So as you sit here today, you can't identify a

12     single property that was within the subject area that

13     was owned or managed by one of the individuals listed

14     on pages 14 and 15 of Exhibit 1?

15            A.    That's correct.        These are simply people who

16     have a broad spectrum of -- you know, of knowledge,

17     ownership and management through the metro area and

18     were, you know, actively involved in the commercial

19     real estate market in the urban areas.            So it's -- it

20     was not targeted towards the subject, you know,

21     neighborhood.

22            Q.    Okay.    Now, the word "CHOP" only appears --

23     is -- is only referenced by four individuals.

24                  Did you realize that?

25            A.    Did I realize what?


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                                                                  Page 100
 1            Q.    That the word "CHOP" is only referenced by

 2     four of the individuals that you surveyed.

 3                  Are you aware of that?

 4            A.    I suppose so.       I've read the survey results.

 5            Q.    Okay.    Well, you have no reason to doubt that

 6     the word "CHOP" only appears in four --

 7            A.    Right.

 8            Q.    Correct?

 9            A.    Correct.

10            Q.    And we can assume that if there's nothing

11     about CHOP in the other entries that they didn't talk

12     about CHOP, correct?

13            A.    Or didn't respond or didn't have an opinion,

14     correct.

15            Q.    Okay.

16            A.    And, again, we were interested in civil unrest

17     in general and, obviously, Capitol Hill was not the

18     only place that that had happened.             That was also a

19     factor in downtown Seattle.             So it was -- our attempt

20     to -- to find what was sort of -- the cause and effect

21     of the various factors that were at hand was fairly

22     broad.      So I think that's not surprising, you know.

23                  Many people wouldn't have an opinion about

24     that or wouldn't have been in the neighborhood.             So --

25     or wouldn't have been familiar -- as familiar with the


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                                                                   Page 107
 1     is really -- you know, if you ask somebody what is

 2     Capitol Hill, you'll get quite a different variety of

 3     responses depending upon how they think about it.

 4     Most -- most real estate participants would think of

 5     Capitol Hill as starting on the east side of probably

 6     I-5.

 7                  So here we're not -- you know, we're focused

 8     on some zone that's sort of a subset of Capitol Hill, I

 9     guess you would say.           And, you know, the -- the

10     Pike/Pine corridor, obviously, was, you know -- was hit

11     hard.     And is not part of CHOP.

12                  But I think he's -- you know, I think he's

13     referring to -- you know, and again, that was -- that

14     was noticeable as was downtown.             A lot of the

15     activation comes from the, you know, interplay between

16     downtown and the Pike/Pine corridor which is really an

17     extension of downtown.           So I don't think he's saying

18     anything surprising there.

19            Q.    So -- and -- and from your personal

20     experience, you're aware that protesters would often go

21     between CHOP and downtown using the Pike/Pine corridor.

22                  Is that a fair statement?

23            A.    Oh, I don't know.          That's a common way to walk

24     between the two.         That's a question -- my -- my

25     impression is that it was a -- you know, it was a


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                                                                 Page 122
 1     instances or four individuals as you state.

 2            Q.    Okay.    Okay.     And were -- were there any

 3     instances where Cap Hill was mentioned that they were

 4     actually referring to CHOP that you're aware of?

 5            A.    Well, of course, you know, CHOP is in, you

 6     know, Cap Hill.         So, I don't want to, you know,

 7     speculate what somebody means when they say

 8     "Capitol Hill," other than it includes CHOP, right.

 9            Q.    Okay.    You wouldn't speculate that because

10     somebody referred to Capitol Hill that they're

11     referring to CHOP, correct?

12            A.    Well, I think I said the opposite.      Cap Hill

13     does include CHOP.          So I would think they were talking

14     about, you know, CHOP and other locations when they

15     said "Cap Hill."

16            Q.    Now, did any of these individuals say anything

17     else about CHOP that's not reflected in -- on pages 14

18     or 15 of your expert report?

19            A.    Not to the best of my knowledge.

20            Q.    And you chose these individuals because they

21     had expertise -- some form of expertise in -- in the

22     real estate market, correct?

23            A.    I asked Austin to interview individuals who

24     would be knowledgeable about the -- the close-in urban

25     real estate market.


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                                                                   Page 123
 1            Q.    Okay.    Did you give a him a list of people to

 2     interview?

 3            A.    No.

 4            Q.    How did he pick -- do you know how he -- he

 5     determined people to pick?

 6            A.    Well, he had a long list.          He had a -- the --

 7     you know, of people that he had previously interacted

 8     with or that he was comfortable calling and he -- I

 9     don't know, he called about, you know, 30 people, I

10     think, and was, you know, again, in a -- in a context

11     of -- of a, you know, an overall survey where we're

12     trying to determine what's happening mostly with retail

13     space, you know, in the urban areas.             I -- you know, I

14     think that's what he wanted to concentrate on.

15                  And obviously, you know, that's a -- when we

16     look at the claims, it was all about, you know,

17     restaurants and, you know, and street-level businesses,

18     you know, a lot of it was.              So I think that was his

19     focus was people who were knowledgeable about urban

20     street-level business.

21            Q.    Okay.

22            A.    And -- but I didn't -- I didn't guide him

23     on -- I didn't -- I didn't tell him who or didn't --

24     didn't really give any other boundaries to that.               So,

25     people that -- people that would talk to him, you know,


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                                                                  Page 132
 1            A.    Yes.    I think you can see the boundaries here

 2     that were used for that, so...

 3            Q.    Okay.    So am I to understand that the subject

 4     area that you used for your study is from Denny in the

 5     north to Union in the south and Broadway in the west to

 6     14th in the east?

 7            A.    For the Yardi -- sorry, for the -- for the --

 8     for the Yardi portion of the study, 50 plus unit

 9     apartments, I believe, yes.             The other -- you know, the

10     boundaries are mostly imposed by the data providers, so

11     they were various -- and I think there's maps of the

12     other ones.

13                  And so that was just one part of the study, of

14     course.

15            Q.    So are you saying that you used different --

16     different boundaries for the subject area based on the

17     different providers that you used?

18            A.    Yes, that -- that the providers have their

19     own, you know, boundary rules and that we didn't go and

20     individually isolate properties one by one and study

21     them ourselves.         We used -- you know, we used the

22     providers, Commercial Analytics and Yardi and -- and

23     CoStar, so...

24            Q.    Okay.    So for Commercial Analytics, what were

25     the boundaries that you used?


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                                                                 Page 133
 1            A.    I believe Commercial Analytics has the

 2     distinction of -- of Capitol Hill at large, and I think

 3     that's probably discussed in the report.            Do you want

 4     me to look at that?

 5                  So let's see.       They have different

 6     methodologies and data sources.

 7            Q.    What page are you referring to?

 8            A.    I'm looking at page 21.

 9            Q.    Okay.    Okay.     Does it tell us what boundaries

10     Commercial Analytics used for the boundaries for the

11     subject area on page 21?

12            A.    I was thinking that it did, but I don't see it

13     in here.

14            Q.    Okay.

15            A.    So my understanding is that Commercial

16     Analytics includes sort of all Capitol Hill and their

17     boundaries, so this is an examination of Capitol Hill

18     including, you know, the CHOP area but not excluding

19     other areas of Capitol Hill.            And that's -- that's

20     their boundary conditions.

21            Q.    So if -- if I understand the data that comes

22     from Commercial Analytics that refers to the subject

23     area refers to the entire area of Capitol Hill?

24            A.    Yes.

25            Q.    Okay.    And --


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                                                                 Page 135
 1     page 30.      Would -- wouldn't you agree?

 2            A.    It looks like it goes to 13th instead of 14th.

 3            Q.    That's correct.        So the eastern boundary is --

 4     is -- is 13th instead of 14th on this map on page 49,

 5     correct?

 6            A.    Yes.

 7            Q.    So -- so, in fact, you're -- you're getting

 8     data from two different subject areas, wouldn't you

 9     agree, even though there's just a slight difference?

10            A.    Three -- three different subject areas, but

11     each of the -- each of these is different.

12            Q.    Correct.

13            A.    Yeah.

14            Q.    And wouldn't that make a difference in the

15     analysis that -- that you're conducting of the data to

16     have different subject -- different boundaries drawn

17     for the -- the subject areas?

18            A.    It might slightly change the specifics.

19     Really, the purpose of this analysis is to see if you

20     can discriminate, you know, a difference that's not

21     explained by other factors such as outmigration, and

22     so, you know, the attempt is sort of a statistical

23     attempt that is not, you know, seriously impacted in my

24     opinion by slightly different boundaries.

25                  I think the Commercial Analytics boundary,


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                                                                   Page 138
 1     You know, Yardi allows -- you know, has individual, you

 2     know, buildings as data points, so I'm -- I'm sure

 3     that's available.          But obviously I don't have it here.

 4     It wasn't something that was of a consideration to me

 5     or that wasn't important.

 6            Q.    And where -- where would that data be

 7     available?

 8            A.    Through Yardi.

 9            Q.    But did you retain any of the data relating to

10     these specific locations depicted on page 30?

11            A.    No, I believe Amy simply printed the maps that

12     were associated with them.              So we weren't -- we weren't

13     interested in the specifics.             We just wanted to give

14     good disclosure on the boundaries.

15            Q.    So these balloons do not represent any

16     specific properties that you relied upon for data in

17     your study, does it?

18            A.    We're relying on the aggregated data,

19     obviously.       We -- we weren't looking at specific

20     properties.

21            Q.    So -- but were you relying at -- upon

22     aggregated data for these specific -- these properties

23     depicted in -- with -- by these balloons here?

24            A.    These are all the properties tracked by Yardi.

25     So it's -- we didn't select the buildings.


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                                                                    Page 139
 1            Q.    Are there no other buildings that are tracked

 2     by Yardi within this location that was --

 3            A.    That's right.       Yes.   My understanding is this

 4     is comprehensive.

 5            Q.    And so you didn't undertake to understand the

 6     exact address of each one of these buildings, did you?

 7            A.    Correct.

 8            Q.    You didn't undertake to understand the -- the

 9     nature of the -- the tenant that was located at any of

10     these specific addresses, did you?

11            A.    No, certainly not.         That would not be in the

12     scope of even an appraisal, and this was -- this was

13     broad analysis.         This wasn't an appraisal.      So

14     that definitely -- definitely we're not trying to

15     understand the specific tenants.            At best we talked

16     about before -- would probably have been inappropriate

17     for us to -- they're in the claimant area.

18            Q.    And you didn't -- you didn't seek to -- to

19     survey, for example, any of the -- of the properties

20     that are listed here in the subject area depicted on

21     page 30 to determine what their experience was in CHOP,

22     did you?

23            A.    That's correct.        We did not -- we were not

24     provided with that information, and it was not within

25     our scope to do that, so we -- we did not do that.


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                                                                    Page 154
 1            A.    Yes.

 2            Q.    And is there -- is there an ability to display

 3     the -- the -- and collect the address information of

 4     the properties that was used in -- in the data points

 5     for your CoStar data?

 6            A.    I believe you can export, you know, by

 7     property record probably.               So -- or the -- at least to

 8     some limited extent.           They're -- they don't want -- you

 9     know, they don't want -- they don't want people

10     exporting everything because it's their proprietary

11     data.     But -- but I believe you can export individual

12     property records if you were to be granular.

13            Q.    Okay.    So if you could take a look at page 49,

14     I would appreciate that.

15            A.    Okay.

16            Q.    Okay.    And page 49, again, is a map of the

17     subject area that was used for the CoStar data,

18     correct?

19            A.    Yes.

20            Q.    And page 49 does not show any locations on the

21     map of -- of where the specific properties were from,

22     correct?

23            A.    Correct.

24            Q.    And as you sit there today, you have no idea

25     which properties -- which addresses you used for your


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                                                              Page 155
 1     study, correct?

 2            A.    Well, I think they're depicted here, but I

 3     don't have a list of addresses or properties.

 4            Q.    Okay.    You don't have -- you don't have a list

 5     of addresses and there aren't any dots or indications

 6     on this map that show us where the properties are,

 7     correct?

 8            A.    Correct.

 9            Q.    And in fact, there's not any other map in your

10     report that would show us that information, correct?

11            A.    Correct.

12            Q.    So there's no -- no map or address information

13     that would show us, for example, how close any of these

14     properties were to the East Precinct.         Is that fair?

15            A.    I'm not sure I understand the question.      The

16     East Precinct has a specific location.         So you could

17     take any other location and say, Here's where it is

18     compared to that location.

19                  Are you saying by address search or by

20     geocoding or something -- some --

21            Q.    Let -- let me ask the question again.     Your

22     report does not have any address information or maps

23     depicting the property -- property addresses of the

24     CoStar data that you used for your study that would

25     show us the proximity of any specific property that was


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                                                                     Page 156
 1     used in relation to the East Precinct, correct?

 2            A.    Yes.

 3            Q.    Okay.    All right.        What -- now, let's turn to

 4     page 28 of your report, please.

 5                          MR. FARMER:        Gabe, before you ask this

 6     question, I was just going to note that I need to leave

 7     for my hearing, so Ms. Iverson will take over defending

 8     the deposition until I'm able to return.

 9                          MR. REILLY-BATES:       Okay.

10                          MR. FARMER:        Thanks very much.

11            Q.    (BY MR. REILLY-BATES)          Okay.   Are you on

12     page 28?

13            A.    Yes.

14            Q.    So this is a page describing what the Yardi

15     matrix is, correct?

16            A.    Yes.

17            Q.    And it states that the Yardi matrix only

18     gathers data three time a year, correct?

19            A.    Normalized data three times a year.            I think

20     they're probably gathering all the time, but that's

21     right.

22            Q.    Okay.    Do you know what specific time points

23     those are during the year?

24            A.    Not offhand.

25            Q.    And would you agree that the specific time --


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                                                                  Page 162
 1            Q.    Okay.    Let's turn back to page 25 when you get

 2     a chance.       And we're on page 25 of Exhibit 1 which is a

 3     page regarding Commercial Analytics data.            And it says,

 4     "Data provided by property and owners and managers and

 5     anonymized by using market areas."

 6                  Do you see that?

 7            A.    Yes.

 8            Q.    Is that a fair statement of the data that you

 9     received from Commercial Analytics?

10            A.    Yes, to the best of my knowledge, that's

11     what -- that's what they say it is.

12            Q.    Okay.    So -- so you have no way of determining

13     who -- where the property locations are in the data

14     that you received from Commercial Analytics, do you?

15            A.    Only in the product boundaries that they

16     defined.

17            Q.    Right, which means --

18            A.    Within the boundary of each neighborhood that

19     they define, that's right.

20            Q.    Right.     So you have -- you have no idea within

21     the boundaries that they've defined where the data

22     points are located, correct?

23            A.    Well, as we sit here, of course not.        But, I

24     mean, you know, we could go look for the -- you know,

25     the data that would fit their criteria.             So I don't


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                                                                Page 163
 1     want to say that we -- it couldn't be done.           But that's

 2     not normally something we would do and not something

 3     that we have in this file.

 4            Q.    Well, if your report says this data is

 5     anonymized --

 6            A.    Right.

 7            Q.    -- so doesn't that mean that you cannot go

 8     back in and figure out who -- who the data is linked

 9     to?

10            A.    No.    It means that the individual data points

11     are not reported, so, you know, they're anonymous by

12     individual points, unlike -- for instance, I said at

13     CoStar, you could go in and look at the actual, you

14     know, here's the property or something like that.

15                  But it's -- portion of the data points with

16     Commercial Analytics you cannot do that.           Again, the --

17     they just define their survey as such that they tell

18     people, "Hey, we won't tell them about your specific

19     property, we'll just group it with a lot of other

20     properties, so that, you know -- so that you're part of

21     the statistical average."

22                  And again, this is -- appraisers and market

23     analysts are using these for trends in this case,

24     not -- you know, not for the specific data points.

25     We're usually looking at what are the trends.          We're


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                                                                 Page 164
 1     making adjustments for time and doing things like that.

 2                  So this is not a -- that's not an impediment

 3     from an appraisal viewpoint.            It's just different than

 4     going out and doing a rent survey which would -- which

 5     we would actually select the comparable properties and

 6     try to solve the value of any one property.

 7                  So this is for market analysis purposes, not

 8     for -- not for appraisal purposes.

 9            Q.    Okay.    And just to be clear, you didn't -- you

10     didn't conduct a -- a market survey where you looked

11     for comparable properties in this case to use, you

12     know, to analyze the rent rates in the subject area,

13     correct?

14            A.    Correct.      We didn't really have specific

15     subject properties.          We just had a defined, you know --

16     or a sort of defined area, right?           So it's not -- you

17     know, the -- the plaintiffs' specific claims, you know,

18     were -- you know, were properties but not a

19     comprehensive list of properties or anything.

20                  So we didn't -- we didn't have a -- and we're

21     not -- and we weren't appraising anything, so we -- we

22     didn't attempt to do that level of sampling.           We were

23     simply looking at the trends.

24            Q.    Okay.    And so the Capitol -- the Capitol Hill

25     area used by Commercial Analytics is -- is much larger


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                                                                 Page 176
 1     the vacancy rate in the subject area was higher than

 2     Belltown, wouldn't you?

 3            A.    Well, it went up less than, but started out

 4     higher, yes.        But, again, that's -- that pre- -- that

 5     mostly predates the claim period here.

 6            Q.    Now, are you aware of whether or not Amazon --

 7     Amazon's headquarters downtown are located within

 8     Belltown?

 9            A.    Some of them are, yes.     In the Belltown

10     market.      That's --

11            Q.    And are you aware that Amazon employs over

12     75,000 employees in the Seattle area?

13            A.    Yeah.    I mean, the Seattle area, I think

14     that's more like -- more like 50,000 in Seattle, but,

15     yes.

16            Q.    And do you have any general idea as to the

17     number of -- of office employees that are working at

18     Amazon -- or were working in Amazon's headquarters in

19     Belltown at the beginning of the pandemic in

20     March 2020?

21            A.    Yes.

22            Q.    And how many approximately within --

23            A.    Maybe 40,000.

24            Q.    And --

25            A.    That's between all of their buildings, so...


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 1            Q.    So do you think that -- well, do you know

 2     whether Amazon had a work-from-home policy once the

 3     pandemic started?

 4            A.    Oh, yes.

 5            Q.    And in fact, they continued their

 6     work-from-home policy throughout all of 2020 and

 7     through most of 2021, correct?

 8            A.    That is correct.           But that doesn't affect the

 9     vacancy rate.        Right.     That just means that the

10     majority of the market is occupied.

11            Q.    So --

12            A.    Vacancy is -- is by other tenants.           That's not

13     Amazon.

14            Q.    Wouldn't that affect -- well, wouldn't --

15     it wouldn't affect Amazon directly, but wouldn't it

16     affect other businesses that rely upon Amazon employees

17     to be in the neighborhood, shopping and buying things?

18     Wouldn't you agree with that?

19            A.    Well, that's retail effect.           That's not what

20     we're looking at here.           Right?

21            Q.    Well, the -- the map on the right are -- are

22     retail?

23            A.    Oh, I thought you were talking about the left

24     on that.      Yeah.

25            Q.    So it would have -- Amazon work-from-home


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                                                                Page 226
 1     you know, to cure concrete on one part of a driveway or

 2     something, and the mere inconvenience of having to go

 3     through a bit of a construction zone would not be, you

 4     know, legally compensable probably.

 5                  So it's -- it's very difficult because I think

 6     the different accounts that you see, you know, I don't

 7     have video accounts.           I don't have -- I don't have the

 8     level of detail that might be appropriate for a

 9     specific property investigation.

10                  The statement here is relative certainly to

11     the 5,000 property owners that were allegedly, you

12     know -- you know, within the CHOP zone that, you know,

13     and obviously that was highly variable and was -- you

14     know, there was concentration of -- you know, access

15     issues that affected certain streets which, you know, a

16     street being blocked on its own is not an

17     unreasonable -- you know, there's a standard of -- you

18     know, of circuity access also, which is another jury

19     instruction standard.

20                  So, you know, merely being circuitous to have

21     to get places may or may not be -- you know, rise to a

22     level.     Also, I think there's a distinction to be made

23     between vehicular access and pedestrian access, and

24     that's an important distinction and, you know, both

25     accesses are -- you know, are legitimate to talk about


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 1                              REPORTER'S CERTIFICATE

 2               I, CARLA R. WALLAT, CCR, CSR, RPR, CRR, the undersigned

 3      Certified Court Reporter, authorized to administer oaths and

 4      affirmations in and for the states of Washington (2578),

 5      Oregon (16-0443), and California (14423) do hereby certify:

 6               That the sworn testimony and/or proceedings, a

 7      transcript of which is attached, was given remotely before me

 8      at the time and place stated therein; that any and/or all

 9      witness(es) were duly sworn to testify to the truth; that the

10      sworn testimony and/or proceedings were by me stenographically

11      recorded and transcribed under my supervision.    That the

12      foregoing transcript contains a full, true, and accurate

13      record of all the sworn testimony and/or proceedings given and

14      occurring at the time and place stated in the transcript; that

15      a review of which was requested; that I am in no way related

16      to any party to the matter, nor to any counsel, nor do I have

17      any financial interest in the event of the cause.

18               WITNESS MY HAND AND DIGITAL SIGNATURE this 31st day of

19      August, 2022.

20
21
22      ________________________

23      CARLA R. WALLAT, RPR, CRR
        Washington CCR #2578, Expires 1/5/2023
24      Oregon CSR #16-0443, Expires 9/30/2024
        California CSR #14423, Expires 1/31/2023
25


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